AUSA Assigned: EAH
Re: Complaint and Arrest Warrant for Adam T. Layton
County: Spokane

AFFIDAVIT SPOKANE WASHINGTON

STATE OF WASHINGTON )
:SS
County of Spokane )

Michael Northcutt, being first duly sworn on oath, deposes and states:

1. Your affiant is a Special Agent (S/A) of the Bureau of Alcohol, Tobacco,
Firearms and Explosives (ATF). This affidavit is in support of a criminal complaint
against Adam T. Layton.

2. Your affiant is employed by ATF as a Special Agent and has been so
employed since September of 2001. Your affiant has a Bachelor of Arts degree
from Concordia College in Business Administration. Your affiant received a Jurist
Doctorate from the University of Montana Law School. Your affiant is a graduate
of the Federal Law Enforcement Training Center, Criminal Investigator Training
Program, as well as the ATF New Professional Training. These courses of study
totaled 23 weeks of training. Your affiant has participated in the execution of

numerous state and Federal search warrants, including searches for

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evidence related to the illegal possession or use of firearms and ammunition. Your
affiant has consulted with other Special Agents in the ATF who have many years
of experience in working firearms investigations. Your affiant has completed the
Firearms Interstate Nexus Training Course in Washington, D.C., which provides
training in the recognition and identification of firearms and ammunition and their
place of manufacture, and has provided numerous firearm and ammunition
Interstate Nexus opinions.

3. As aresult of your affiant's training and experience as a Special Agent for
the ATF, he is familiar with the Federal firearms laws and knows that it is a
violation of Title 18, United States Code, Section 922(g)(1) for any person who has
been convicted in any court of a crime punishable by imprisonment for a term
exceeding one year to receive, possess or transport any firearm or ammunition in
or affecting interstate or foreign commerce, or any firearm or ammunition which

has been shipped or transported in interstate or foreign commerce.

4. The information set forth in this affidavit is not intended to detail each and
every circumstance of the investigation or all information known to me or the
investigative participants. Rather, this affidavit serves to document and illustrate
the scope of the alleged activities and facts and circumstances necessary to

establish that probable cause exists to believe that Adam Layton unlawfully

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possessed a firearm and ammunition in violation of Title 18, U.S.C., Section
922(g)(1).

5. | The following is based upon information your affiant personally received
from Officers with the United States Probation and Parole Office (USPP), and
from your affiant's own investigation.

6. On August 22, 2019, your affiant received a call from Richard Law, an
officer with U.S. Probation and Parole (USPP) in Spokane, Washington. Officer
Law told your affiant that USPP officers would be conducting a search of the
residence of Adam Layton, an individual under USPP supervision, the following
day. The search was to be conducted pursuant to USPP guidelines. Officer Law
told your affiant that USPP Officers had information that Layton was in possession
of a .45 caliber pistol. Officer Law requested your affiant’s assistance in the
search.

7. On August 23, 2019, your affiant accompanied USPP officers to the
Layton’s residence, 2914 N. Hogan St., apartment #5, Spokane, WA. A short
distance from the address, Officers made a call to Layton’s phone to let him know
they were coming. Layton stated he was not at his residence, but was on his way
to treatment at a drug rehabilitiation facility.

8. Officers continued to Layton’s apartment. As officers approached, they

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observed a woman, identified as Layton’s girlfriend, Katie Torrez, at the bottom of
the apartment stairs, holding a box and a briefcase. Officers observed Torrez look
both ways, observe officers, and walk to a vehicle parked in the parking lot.
Officers observed Torrez put the items in a car. Officers contacted Torrez, and
escorted her back to apartment 5, where she lives with Layton. Officers made
entry into the residence, and inside the residence contacted Michelle Reynolds, a
friend of Layton. Reynolds told officers that Layton had gone to drug treatment
driving her car, a black envoy with the front license plate in the dash. Reynolds
provided officers with written consent to search her vehicle.

9. Your affiant and officers went to the drug treatment center, located at 910 E.
Boone, Spokane, WA, and located Reynold’s black Envoy in the parking lot.
Officers contacted Layton. Layton initially denied driving the Envoy but
subsequently admitted to officers that he had driven the Envoy. As officers
prepared to begin searching the Envoy, Layton stated that the gun was in his
backpack in the Envoy. Officers observed a small black zippered backpack in the
front passenger seat. The main zippered pocket was locked with a mini lock.
Layton told officers that the key to the lock was in the middle console of the
Envoy. SA Northcutt unlocked the mini lock with a key from a keychain in the

middle console. Inside the backpack, among other items, was a Smith & Wesson,

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model SW40VE, .40 caliber pistol, bearing serial number DXA7536. Your affiant
observed the pistol contained a magazine loaded with ammunition.

10. Your affiant showed Michelle Reynolds the black backpack that the pistol
was found in. Reynolds confirmed that the backpack belonged to Layton.

11. Your affiant is familiar with Layton from being the case agent on Layton’s
prior Federal conviction for Felon in Possession of a Firearm. Your affiant queried
Layton’s NCIC criminal history record. Layton has a felony conviction in United

States District Court for:

Felon in Possession of a Firearm, 3/18/15.

Layton also has felony convictions in Washington State courts for:

THEFT=1 ATTEMPT CLASS C FELONY = 01/31/2017
FIREARM POSSESSION UNLAWFUL-1I CLASS B FELONY — 06/28/2013
ROBBERY-2 CLASS B FELONY — 06/24/2010
FIREARM POSSESSION UNLAWFUL-2 CLASS C FELONY — 08/13/2009
THEFT-1 CLASS B FELONY 08/06/2008
RESIDENTIAL BURGLARY CLASS B FELONY — 07/18/2007
RESIDENTIAL BURGLARY CLASS B FELONY — 06/07/2007

12. Based upon Layton’s prior felony convictions, your affiant knows Layton is

prohibited from possessing firearms and ammunition. Your a fe . any alse Kaow

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13. ne On August 23, 2019, your affiant arrested Layton for being a felon in ap)

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possession of a firearm.

14. Your affiant knows the Smith & Wesson pistol was not manufactured in
the state of Washington. Therefore, your affiant knows the firearm has
traveled in and affected interstate commerce in order to be present in the State

of Washington.

15. Based upon the information above and your affiant's knowledge and
experience, your affiant believes that probable cause exists to believe Adam

Layton unlawfully possessed a firearm in violation of Title 18, U.S. Code, Section

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Michael Northcutt, Special Agent
Bureau of Alcohol, Tobacco, Firearms & Explosives

 

JA Sworn to before me and signed in my presence.

(] Sworn to telephonically and signed electronically.
this 23 4* day of August, 2019.

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John
Unit¢d he istrate Judge

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